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IN THE UNITED sTATEs DIsTRICT COURT
FOR THE wEsTERN DISTRICT OF TENNESSEE QSQPRJQ PH g 5
wESTERN DIVISION ~ w

 

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UNITED STATES OF AMERICA,
Plaintiff,

v. NO. 04-20389 Ml

CYNTHIA MCCASTER,

Defendant.

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ORDER GRANTING MOTION TO CONTINUE

 

Before the Court is the Motion For Continuance cf Sentencing
filed April 19, 2005 by Defendant. The motion is GRANTED and the
sentencing' in. this matter‘ is RESEI‘ to fronl April 20, 2005 to

Fridav, MaV 20, 2005, at 11:30 a.m.

IT 15 so ORDERED this ]Q day of April, 2005.

_ @_MM

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

  
 

 

 

   

UNITED S`TATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

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Honorable .1 on McCalla
US DISTRICT COURT

